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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

William Carini
                              Plaintiff,
v.                                                    Case No.: 1:17−cv−08687
                                                      Honorable Sara L. Ellis
James Gentilcore
                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 30, 2018:


        MINUTE entry before the Honorable Sara L. Ellis: Joint motion for confidentiality
order [18] is granted. Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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